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            EXHIBIT 17
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                                             DNIELS

Kathy L. Osborn                                                                         Faegre Baker Daniels LLP
Portner                                                                    300 North Meridian Street Suite 2700
kathy.osborn@FaegreBD.com                                                      Indianapolis Indiana 46204-1750
Direct +1317 237 8261                                                                    Phone +1317 237 0300
                                                                                            Fax +1317 237 1000




November 25, 2014

VIA ELECTRONIC MAIL


Mr. Craig Benson
Paul, Weiss, Rifkind, Wharton & Garrison LLP
2001 K Street NW
Washington, DC 20006-1047
(202) 223-7343
cbenson@paulweiss.com


Re:       Document production and search terms in MDL No. 1917

Craig:

I am responding to your letter from yesterday requesting additional information in order to assist
Thomson SA with identifying reasonable supplemental search terms. I also respond to Norman
Pentelovitch’s email from yesterday conceming Thomson SA’s production from earlier this month.

Response to your November 24, 2014 letter

You asked for additional detail regarding the size and content of the Working Data Set so that you might
help Thomson SA develop reasonable searches to apply to the data. Thomson SA’s vendor processed
approximately 16 million items. Of these, approximately 3.4 million (or 880 GB) are productivity files
(PDF, Word, PowerPoint, Excel, and email messages). Limiting documents to the Relevant Period
minimally reduced the universe of documents to 3.35 million files (870 GB). Finally, de-duplication
brought the Working Data Set down to approximately 2.35 million files (670 GB). Please note that these
counts include parent-level documents only. So an email and three attachments count as a single item.
Let me also emphasize again that this universe of documents contains enormous quantities of CRT non-
relevant data as well as documents already produced.

You also asked about the source of files in the Working Data Set. I understand documents in the
Working Data Set were collected from a very large file store used generally by Thomson SA employees,
a Microsoft Exchange Server, a Lotus email server, and from Agnes Martin, Didier Trutt, Emeric




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Charamel, Xavier Bonjour, Christian Lissorgues, Christian Bozzi, Olivier Cassanova, Fredric Jarsaillon,
and the CRT group generally.

Now that you have this additional detail regarding the Working Data Set, I look forward to your
suggestions regarding search terms or strings regarding Category I and 3 documents.

I do not intend to address the other comments in your letter other than to emphasize that while Thomson
SA remains willing to waive objections to personal jurisdiction in this lawsuit, it will not agree to waive
any other rights. Thomson SA is willing to consider a narrowly-tailored stipulation that reflects a waiver
of personal jurisdiction for this lawsuit only, but it will not waive all rights to contest enforceability of
an adverse judgment as that issue is distinct and separate from the issue of personal jurisdiction.

Resnonse to November 24. 2014. email from Norman Pentelovitch

Mr. Pentelov itch asked Thomson SA to provide an "overlay load file" to address what he assumed to be
a failure by Thomson SA to properly maintain family relationships between parent emails and children
attachments. Thomson SA did not, however, omit such information from the production. Instead,
Thomson SA produced to DAPs, as promised, the same files it provided to the European Commission,
many of which were simple PDFs (rather than native emails messages) without load files identifying
family groups.’ As Mr. Pentelovitch noted, it is usually obvious which attachments go with which parent
emails because the attachments sequentially follow the parents. Thus, in the two examples provided by
Mr. Pentelovitch, the child attachments TSA-CRT000164I I and TSA-CRT000 16617 sequentially
follow their parent emails (TSA-CRT000164IO and TSA-CRT000I66I6, respectively) in the
production.

In the course of investigating Mr. Pentelovitch’s concerns, Thomson SA did identify one potential issue
with the production that it can resolve for DAPs. In some instances, these PDF emails and their children
were produced out of sequential order because they were reviewed at different times. This happened
when, for example, different individuals reviewed a French email and its English attachments or when
there was a technical issue with a document. I have provided the attached spreadsheet to allow DAPs to
see which PDFs followed which in the production to the EC. The rows of the spreadsheet proceed
sequentially based on the European Commission production. The beginning and ending bates number is
listed for each document as well as the production volume in which the document was produced. Thus,
the bates numbers generally flow in large sequential chunks, but breaks in the order show where a
document was reviewed later than neighboring documents.

To give a specific example from the first page of the spreadsheet, the email beginning at TSA-
CRT00074769 (row 11 in the spreadsheet), is in French and was produced out of sequence from the
documents around it. And that email’s attachment (TSA-CRT00078570) contained no data and was
produced later still, as Thomson SA worked to confirm that the attachment was produced in the same


 The production to the European Commission also included many native email messages with attachments. Those documents
were scrupulously produced as family groups, with the appropriate load files.




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form to the European Commission. TSA-CRT00034 1 78 (row 13 in the spreadsheet) is in English and
returns to the sequence, followed by its attachment, TSA-CRT00034 179.

Although somewhat cumbersome to explain in a letter, I think you will see that once you spend a few
minutes with the spreadsheet, it is quite intuitive and allows you to quickly identify any attachments that
may have been separated from parent emails. If you have any lingering questions after having worked
with the spreadsheet, my team and I are happy to answer those questions.

With respects to Thomson Defendants’ responses to DAPs’ first set of RFAs, we will provide
supplemental responses next week.

Sincerely,



                               T1/v

Kathy L. Osborn




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